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13                              UNITED STATES DISTRICT COURT
14                             NORTHERN DISTRICT OF CALIFORNIA
15                                   SAN FRANCISCO DIVISION
16

17   ANIBAL RODRIGUEZ, et al. individually and on     Case No. 3:20-CV-04688-RS
     behalf of all others similarly situated,
18
                                                      DECLARATION OF KEVIN LAM IN
                                 Plaintiff,           SUPPORT OF GOOGLE LLC’S
19
            vs.                                       STATEMENT IN SUPPORT OF
20                                                    MOTION TO SEAL PORTIONS OF
     GOOGLE LLC,                                      CLASS CERTIFICATION & DAUBERT
21
                                                      BRIEFING (DKTS. 314 & 321)
                                 Defendant.
22
                                                      Judge:              Hon. Richard Seeborg
23                                                    Courtroom:          3, 17th Floor
                                                      Action Filed:       07/14/2020
24                                                    Trial Date:         Not Yet Set
25

26

27

28

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 1          I, KEVIN LAM, respectfully submit this declaration in regard to the above captioned

 2   matter. I make this declaration based on my personal knowledge of the facts stated herein.

 3          1.     I am employed at Google LLC (“Google”) as a Product Manager with supervisory

 4   authority concerning Google Analytics for Firebase (“GA for Firebase”). I joined Google in 2019

 5   and have been a Product Manager since that time. Unless otherwise stated, the facts I set forth in

 6   this declaration are based on my personal knowledge or knowledge I obtained through my review

 7   of corporate records or other investigations. If called as a witness, I could and would testify

 8   competently to such facts under oath.

 9          2.     In my role as a Product Manager at Google, I have managed various areas across the

10   GA for Firebase product. I am familiar with Google’s practices regarding the treatment of

11   sensitive business and technical information.

12          3.     I submit this declaration in support of Google’s Statement In Support of Motion to

13   Seal Portions of Class Certification & Daubert Briefing (Dkts. 314 & 321). I have reviewed

14   unredacted versions of Plaintiffs’ Motion for Class Certification (“Motion”) (Dkt. 314-3), Trial

15   Plan ISO Motion for Class Certification (“Trial Plan”), the Declaration of Mark Mao In Support

16   Of Plaintiffs’ Motion for Class Certification And Appointment of Class Representatives and Class

17   Counsel (Dkt. 315-14), and 3 of the corresponding exhibits filed therewith which have been

18   designated for sealing: Exhibits 10, 15, and 65. I have also reviewed unredacted versions of

19   Google’s Opposition to Plaintiffs’ Motion for Class Certification (“Opposition”) (Dkt. 323) and

20   the exhibits filed therewith which have been designated for sealing: 2, 3, 5, 6, 6A, 8, 14, and 21. I

21   have reviewed Google’s Motion to Exclude Opinion of Michael Lasinski (“Daubert Motion”)

22   (Dkt. 330) and Exhibits 1, 3, 5, 9, and 10 filed concurrently therewith. I have reviewed Plaintiffs’

23   Opposition to Google’s Motion to Exclude Opinion of Michael Lasinski (“Daubert Opposition”)

24   (Dkt. 331) and Exhibits 5 and 7; Lastly, I have reviewed Exhibit 70 to Plaintiffs’ Class

25   Certification Reply (“Reply”) (Dkt. 333). These documents include highly technical, confidential,

26   proprietary, and competitively sensitive information.

27          4.     Commercially Sensitive Proprietary Business Information (All exhibits). Exhibit 10

28   (Motion) is an internal presentation regarding key privacy concepts within Google, specifically
                                                  1
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 1   with regards to the protection of Google’s data. It discusses highly sensitive, confidential, and

 2   proprietary information regarding Google’s internal infrastructure around data classification,

 3   logging, and protection. Google seeks to redact select portions of this presentation that contain

 4   non-public and sensitive information such as, metrics regarding how Google categorizes and

 5   apportions data internally (see e.g., -367, -373), details about Google's data logging infrastructure

 6   (see e.g.,-406, 409-412, 414, 417-418), internal log names (see e.g, -408, - 410), and details about

 7   how Google protects its data (see e.g., -392-399, 419). It also contains highly sensitive

 8   descriptions of its internal data storage systems (see e.g., -398) and infrastructure and code (see

 9   e.g., -420), which are proprietary. The information Google seeks to seal is highly sensitive and is
10   not disclosed in Google’s regular course of business or in litigation. Though general concepts

11   about Google’s data classification, logging, and protection exist in the public domain, the detailed

12   descriptions about how they work within Google’s backend infrastructure and as described in this

13   presentation does not. Excerpts from this exhibit are quoted and characterized at pages 66-68 and

14   116 of the Hochman Report discussed at paragraph 26 below and should be sealed there as well.

15          5.     Revealing any of the information on the slides that Google has designated for

16   sealing would risk causing Google, and potentially its users, irreparable harm. For example, if an

17   outsider wanted to improperly access Google’s systems, and target particular products for theft or

18   other improper purposes, having Google’s confidential, internal code, project, log and data storage

19   names would allow them to more readily find Google’s proprietary documents, information, and

20   code. Furthermore, disclosure of this information could make it easier for a bad actor to

21   circumvent or evade Google’s detection systems. It is, therefore, very important that these

22   internal names not be revealed outside of Google.

23          6.     This document also discloses proprietary details regarding how it anonymizes its

24   data (see e.g., -378) that are disclosed within Google on a need-to-know basis and should not be

25   revealed for the aforementioned reasons. Furthermore, this presentation contains internal

26   observations regarding challenges that Google has encountered and overcome in its creation and

27   management of user data controls that are competitively sensitive (see e.g., -384-385). This is

28   precisely the type of information that would be financially beneficial to competitors who could
                                                  2
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 1   improve their products according to Google’s observations about challenges in developing its own

 2   features.

 3              7.     Exhibit 15 (Motion)1 is a presentation providing an overview of Google’s
 4   application campaigns that Google designated as Highly Confidential – Attorneys’ Eyes Only.
 5   And for good reason. It contains commercially sensitive business information, including sensitive
 6   revenue metrics (see e.g., -805) and long-term product plans and action items informed by targeted
 7   studies (see e.g., -806) that are confidential and not shared in Google’s ordinary course of
 8   business. It also includes various internal code names and descriptions of internal projects that are
 9   still underway (see e.g., 787–8). The information in this presentation highlights the status of
10   current work, the specific benefits to the rest of the ads organizations to incorporate certain
11   changes, and specific, detailed action items to be implemented. This information is competitively
12   sensitive and is precisely the type of information competitors seek. For example, competitors
13   could unfairly capitalize on these metrics by targeting Google’s advertising products according to
14   the volume of users who use those products. Competitors could also gain insight into Google’s
15   various proposals for how to address specific advertiser needs using Google’s products.
16   Competitors could use this information to enhance their own products to meet advertiser needs as
17   reflected in Google’s internal research. Google seeks to seal only 7 of 30 slides in their entirety

18   and discrete portions of the rest where no less restrictive redactions would have appropriately

19   protected the sensitive data.

20              8.     Exhibit 65 (Motion) is a short presentation with strategic business information,
21   including the identification of top Firebase customers, which is the type of information that I have
22   learned has previously been sealed by this court (see Dkt. 272-4). It also discloses metrics
23   regarding the top apps that use Firebase that are not disclosed in the regular course of business and
24   litigation (see, e.g., -097-8). Similar metrics appear in the Lasinski Report at the second bullet
25   point on page 57 (discussed at paragraph 18 below). Furthermore, at pages -099 through -101, this

26   presentation details specific ongoing challenges within the Firebase suite of products and

27

28   1
         Identical to Exhibit 6 (Daubert Opposition).
                                                          3
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 1   Google’s prioritization of goals and strategies for addressing them, which are also characterized in

 2   the Motion at page 17, lines 25-26. Though this presentation is dated 2016, it contains internal

 3   assessments regarding the growth of the Firebase product and related challenges that inform

 4   Google’s strategies pertaining to the app development sector today. This information is

 5   confidential and competitively sensitive. It is information that, if released, would result in a

 6   competitive disadvantage for Google because competitors could use it to capitalize on Google’s

 7   growth strategies and perceived weaknesses and unfairly compete with Google’s product offerings

 8   to Google’s detriment.

 9          9.     Exhibit 2 (Opposition) is an Interrogatory response that discloses highly
10   confidential, technical, and proprietary information regarding Google’s process for collecting,
11   storing, logging, and processing data received through GA for Firebase. Google seeks to seal
12   excerpts on pages 15-25 because they reveal the technical underpinnings of the Google
13   infrastructure that supports these processes—e.g., Google's consent check, anonymization, and
14   logging processes—and explains the processes in great detail, including with non-public diagrams
15   (see, e.g., pg. 18). The response further reveals the functionality of each process and their
16   touchpoints within Google’s back-end data flow system. For example, the response identifies the
17   fields Google has programmed its systems to log on both Android and iOS devices. It describes
18   how Google bundles app measurement data on the server side to other data and back-end processes
19   for allowing developers to send data to Google in bundled packets. It also describes the steps
20   Google takes to conduct consent checks and what it does upon receiving the results of the checks.
21   This information is highly sensitive and confidential. Google protects information concerning its

22   data log storage systems and backend data processing infrastructure because failure to do so would

23   risk causing Google irreparable harm as discussed in paragraph 5 above.

24          10.    If disclosed, competitors could infer from the excerpts in Exhibit 2 how the GA for

25   Firebase product functions and exploit Google’s approach to data processing, organization, and

26   storage to unfairly compete with Google’s product offerings. Furthermore, revealing such

27   sensitive details about Google’s internal infrastructure and data storage systems would put

28   Google, and potentially its customers, at risk for the reasons described in paragraph 5 above.
                                                   4
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 1   Google’s proposed redactions are narrowly tailored and no limited sealing would appropriately

 2   protect its confidential information. In fact, as part of its motion, Google seeks to seal only select

 3   portions on pages 15-25 because earlier this year, this Court ordered that the remaining portions of

 4   this document be kept under seal (see Dkt. 284 (Ex. 37) and Dkt. 293-4).

 5          11.    Exhibit 3 (Opposition) is an internal document that contains competitively sensitive
 6
     business information regarding App campaigns and internal deliberations and strategizing around
 7
     Google’s App attribution features. It contains competitively sensitive business information
 8
     including expected revenue from specific product campaigns (see, e.g., -518, 528), metrics
 9
     revealing commercial goals (see e.g., -523), descriptions of and proposed changes to confidential
10

11   projects to enhance certain product features (see, e.g., -520), and strategies for how to ensure

12   consistent user experiences when extending services across various platforms and how to process

13   data most responsibly and efficiently (see e.g., 522-3, 525). It contains various diagrams and
14
     explanatory descriptions revealing the flow of app data throughout Google’s internal infrastructure
15
     and in doing so reveals highly sensitive names of Google’s data repositories (see, e.g., -519, 520).
16
     Public disclosure of this information would cause Google competitive harm. As discussed in
17
     connection with Exhibit 65 discussed in paragraph 8 above, this type of confidential business
18

19   information and discussion of strategic business considerations is precisely the type of information

20   that Google’s competitors could use to unfairly compete with Google’s product offerings to its

21   detriment. There is no way to disentangle portions of the information in this document that are
22   highly competitively sensitive from others that are not, so no more limited sealing would
23
     appropriately protect Google’s confidential information.
24
            12.    Exhibit 5 (Opposition) and Exhibit 70 (Class Cert Reply) are excerpts from
25
     deposition transcripts where Google employees were asked to discuss the backend flow of GA for
26

27   Firebase data. Google seeks to seal three sentences in Exhibit 5 and narrowly tailored portions of

28   three pages of Exhibit 70 discussing internal data identifiers and details about the number and
                                                   5
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 1   types of data logs within Google that should be sealed for the same reasons discussed in

 2   connection with Exhibit 2 above at paragraphs 9-10.
 3
            13.    Exhibit 6 (Opposition) is the rebuttal expe1t report of Google's technical expe1t,
 4
     Dr. John Black. His repo1t describes Google's data logging systems and repositories, and the flow
 5
     of GA for Firebase data to and within Google. In doing so, he reveals highly confidential and
 6
     proprietaiy info1mation regarding Google's backend processes for user consent checks (see, e.g.,
 7

 8   pgs. 38-39, 41, 52, 70, 75). He also discloses non-public, technical details regarding Google's

 9   data logging and storage structure (see, e.g., pgs. 50, 55, 60, 70-71, 93) and data mapping
10   processes (see, e.g., 30-31). In describing these processes, Dr. Black reveals meti·ics pulled from
11
     Google's Baseview data that can reveal the manner in which Google stores info1mation on its
12
     servers (see, e.g., pgs. 28, 33-35, 48, 55-57, 62) and discloses internal code names that map to
13
     internal mechanisms for data processing that are not publicly known (see, e.g., pg. 32, 42, 55, 57-
14
15   59, 64, 73) internal classifications for specific types of Google accounts (pgs. 12, 24), and an

16   internal classification for a user privacy setting (pg. 81). He describes specific scenarios of how

17   data may appear within Google's backend system and that may also reveal the custom events that
18   specific Google customers enabled within their apps (see, e.g., pg. 33-35). Fmthe1more, he
19
     reveals internal financial data related to Google's infrasti1.1cture expenses (see pg. 91), internal
20
     meti·ics reflecting user' WAA/sWAA statuses over time (pg. 12), and infonnation regarding
21
     Google's sti·ategic thinking underlying nonpublic projects. For example, on page 69, he describes
22
23   a nonpublic proposal for infonnation storage on Google's backend servers. On page 86, he

24   describes an internal project regarding Google's conversion measurement sti·ategy. He does the

25   same on pages 13, 21, and 24 when describing the function of one of Google's more sensitive
26
     internal projects. This info1mation is not only competitively sensitive, but it risks causing Google
27
     and its users nTeparable haim. For example, competitors could use these descriptions of Google's
28
                                                   6
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 1   infrastructure and data processing preferences and related proposals for potential changes to

 2   Google’s Analytics products, to determine the structure of Google’s Analytics business and mimic
 3
     its processes to unfairly compete with its business. Furthermore, revealing confidential internal
 4
     project names like those Dr. Black discloses could cause irreparable harm as described in
 5
     paragraph 5 above.
 6
              14.   Exhibit 6-A (Opposition) and Exhibit 8 (Daubert Motion) are identical documents
 7

 8   that contain appendices to Dr. Black’s report. These appendices are an extension of Dr. Black’s

 9   technical explanations that contain additional, detailed information on how Google stores data at
10   the backend. They contain competitively sensitive information pertaining to the business
11
     relationship between Google and app developers, including how those developers have integrated
12
     GA4F (see, e.g., pgs. 38-44, 49-51). If disclosed, competitors can use these insights to gain an
13
     unfair competitive advantage against Google and its customer app developers. This discussion
14

15   further references specific app developers who bypassed Google Analytics’ Terms of Service. If

16   disclosed, bad actors can use this information to further breach the Google Analytics’ Terms to

17   collect and share data in violation of them.
18            15.   Exhibit 14 (Opposition) contains excerpts from Google’s response to Plaintiffs’
19
     Interrogatory No. 18. Google only seeks to seal select portions on pages 6:24-28; 7:1-5, and 10-16
20
     that reveal confidential descriptions regarding the flow of GA for Firebase data within Google’s
21
     infrastructure, including how and where Google logs data internally. These excerpts reveal
22

23   sensitive information that is not disclosed in such detail in Google’s regular course of business and

24   should be sealed for the same reasons discussed in connection with Exhibit 2 in paragraph       9

25   above.
26
              16.   Exhibit 21 (Opposition) contains excerpts from Google’s response to Plaintiffs’
27
     Interrogatory No. 17. In its response, Google provides highly confidential and competitively
28
                                                  7
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 1   sensitive information regarding advertising functions supported by GA for Firebase and technical

 2   discussions of Google’s processing of GA for Firebase conversion events, including confidential
 3
     log names (see, e.g., pgs. 14:23, 15:13, 17-18). It also discloses statistics, P&L and revenue data,
 4
     and analyses of that data that are not compiled or disclosed in Google’s regular course of business
 5
     (see, e.g., pgs. 14:5-14, 15:24-19:8). Disclosing the information in this response would risk
 6
     causing Google competitive harm. Competitors could unfairly capitalize on these metrics and
 7

 8   revenue information by targeting Google’s advertising services according to the volume of users

 9   who use those services.
10            17.    Exhibit 10 (Daubert Motion) contains excerpts from Google’s response to Plaintiffs’
11
     Interrogatories, Set Six, and at pages 12-19 overlaps with Exhibit 21 at pages 14-19. Exhibit 10 is
12
     similar to Exhibit 21 in that it contains competitively sensitive business information that Google
13
     does not produce in its regular course of business. In fact, it contains a “second supplemental
14

15   response” with additional metrics (see, e.g., pgs. 5-6, 20-24) and technical descriptions regarding

16   Google’s processing of GA for Firebase conversion events and consent checks, similar to those

17   discussed in Ex. 21 (see, e.g., pgs. 9-11). Disclosing this information would cause Google harm
18   for the same reasons discussed in paragraph 16 above.
19
              18.    Michael J. Lasinski’s Expert Report is a document that I understand was provided
20
     to Google’s attorneys by Plaintiffs to explain how much money Plaintiffs should recover if this
21
     case were to be resolved in their favor. As part of this explanation and throughout his report,
22

23   appendices, and the discussion of his report during his deposition at Exhibit 1 (Daubert Motion)2,

24   at pages 24 26, 28, 57-59, 61-62, 72, 74, 76, 77-93, 119-21, 137-45, 151-55, 161-76, 178-82,

25   183-87, 190-91, 199-212, 224-25, 228-29, 270, 272, 289-90–which are quoted and characterized at
26

27   2
      Excerpts from this deposition transcript at Exhibit 1 (Pl.’s Opposition to Daubert) seal the same material on the
     overlapping pages: 57-59, 61-62, 290. Excerpts from this deposition transcript at Exhibit 11 (Google’s Class Cert.
28   Opposition) seal the same material on the overlapping pages: 79, 81-82, 137-38.
                                                       8
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 1   Daubert Motion p. 13, lines 8, 11, 13, p. 14, lines 1 and 24–Mr. Lasinski relies on a significant

 2   amount of highly sensitive and confidential information that Google does not disclose in its
 3
     ordinary course of business dealings or in litigation. This is information that is also quoted and
 4
     characterized in the Motion at p. 6, line 24, p. 17, line 12, p.18, lines 22-24, p. 19, lines 1-24, p.
 5
     21, lines 12-18, p. 22, lines 6-7, 10-13; Trial Plan at p. 5, lines 19-22, 25-26; Daubert Motion at p.
 6
     4, line 17, p. 5, lines 4-5, p. 12, line 10; and Daubert Opposition at p. 3, lines 25-28 to 4, line 3, p.
 7

 8   4, lines 5-17, 21-24, 25, p. 12, lines 19-20, p. 13, lines 16-17, and p. 14, lines 22-24. This includes

 9   Google’s internal metrics reflecting users’ Web & App Activity (“WAA”) and Supplemental Web
10   & App Activity (“sWAA”) setting preferences. Specifically, numerical figures disclosing the
11
     number of active Google accounts in the United States that had turned off the WAA and sWAA
12
     settings during an identified time period, charts reflecting trends on projected revenue based on
13
     this data (see, e.g., pgs. 55-62). Mr. Lasinski also reveals non-public details about financial
14

15   impact analyses and internal projects that Google has conducted as part of its internal business

16   strategies (see, e.g., pgs. 22-26, 27-47). He quotes from and characterizes several internal Google

17   documents that disclose confidential financial data, like Google’s gross revenue and revenue
18   classifications for various products, and Google’s strategic concerns and proposals for how to
19
     enhance its business in light of these metrics (see, e.g., pgs. 1 ns.1-2, 2, 10-12, 17-19; 27-47). 3 He
20
     references internal documents that reveal internal deliberations between Google employees with
21
     proposals for the types of experiments that they would be interested in conducting with regards to
22

23   WAA to better understand its strategic importance within the company (see e.g., pgs. 20-22).

24   These are experiments that Google may implement in the future as part of its product development

25   strategies. Thus, this information is highly confidential and competitively sensitive. For example,
26

27
     3
      The Schedules appended to Mr. Lasinski’s Report incorporate many of the confidential revenue numbers and
28   projections discussed above (see pgs. 81-152).
                                                      9
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 1   competitors could use Google’s framework for its financial analysis experiments to conduct their

 2   own and to adjust their strategies for what products to prioritize or invest more money in.
 3
            19. Mr. Lasinski’s analysis for quantifying the different types of recovery throughout
 4
     Sections 7 and 8 of his Report are informed by Google’s highly confidential internal projects and
 5
     studies which have not been previously disclosed and are not shared in the course of Google’s
 6

 7   business. He states so himself throughout the Report (see e.g., pg. 27 ❡ 72,).

 8          20. The first pair of Google analyses that Mr. Lasinski relies upon to conduct his unjust
 9
     enrichment analysis in Section 7 were conducted as part of a confidential program. The details
10
     surrounding it are highly sensitive and confidential (pgs. 22-25, 59). They are not publicly
11
     discussed because doing so would disclose aspects of Google’s proprietary consent framework
12
     and its underlying strategies that are competitively sensitive. As described in paragraph 63 of his
13

14   report, Mr. Lasinski relied on these analyses to determine what users to identify and what

15   apportionments to make to attribute certain profits to specific groups of users. He also relied on
16   this analysis to determine what adjustments needed to be made at specific points during his
17
     analysis to avoid any unnecessary revenue overlap (see e.g., ❡❡. pgs. 24, 35-36).
18
            21.    Mr. Lasinski relies on elements from another internal Google study, Chrome Guard,
19

20   that is mostly confidential but has been discussed publicly in a limited capacity. Google does not

21   seek to seal information about that study that has already been disclosed (see e.g., pgs. 25-26) and

22   only seeks to seal the elements from that study that are so indiscriminately intertwined with
23   elements applied from Google’s internal study that there are no less restrictive means of protecting
24
     Google’s information than to seal information from that study as well (see e.g., pg. 37-38). This
25
     study is the subject of Exhibit 7 to Plaintiffs' Daubert Opposition. Exhibit 7 is an internal
26
     document that Google designated as Highly Confidential - Attorneys’ Eyes Only when it was
27

28   produced to Plaintiffs. It discusses this confidential project in great detail and provides
                                                   10
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 1   information that Google has not disclosed in its regular course of business. It contains Google’s

 2   highly confidential and proprietary information regarding highly sensitive features of Google’s
 3
     internal systems and operations, including various types of Google’s internal projects, identifiers,
 4
     data signals, and logs, and their proprietary functionalities. In fact, when a version of this
 5
     document came up in other litigation against Google, a court in this district ordered that it remain
 6
     entirely under seal (see Brown v. Google, 4:20-cv-03664-YGR, Dkt. 804 at page 9 (Ex. 64)).
 7

 8           22.     In addition to revealing highly sensitive metrics, these internal analyses reveal

 9   strategic and confidential business considerations that continue to apply to internal assessments of
10   Google’s products today. This information is confidential and highly sensitive, and revealing it
11
     could harm Google’s competitive standing if released.
12
            23.      Given that Mr. Lasinski’s framework for quantifying Plaintiffs’ recovery is based on
13
     highly confidential and sensitive internal analyses, large sections of Mr. Lasinski’s Report should
14

15   be sealed. However, Google seeks to seal only the portions of Mr. Lasinski’s analysis that expose

16   sensitive and proprietary information at those pages and lines referenced above and overlapping

17   material at Exhibit 5 (Daubert Opposition) (sealing name of confidential and competitively
18   sensitive internal revenue analysis).
19
              24.    Exhibit 3 (Daubert Motion)4 is a report written by Google’s damages expert,
20
     Christopher Knittel, in this litigation to respond to Mr. Lasinski’s Report. Mr. Knittel’s report
21
     sets out to provide an expert opinion as to Mr. Lasinski’s methodologies to calculate damages in
22

23   this matter and the damages estimates themselves (see pg. 2). In doing so, Mr. Knittel reveals

24   large swaths of confidential financial information that Google does not disclose in its regular

25

26
     4
      Excerpts from this expert report at Ex. 19 (Google’s Class Cert. Opposition) seal the same material on the
27   overlapping pages: 36; Excerpts from this expert report at Ex. 3 (Pl.’s Opposition to Daubert) seal the same material
     on the overlapping pages: 22, 73-74, 76–79, 83, 86-88, 90.
28
                                                        11
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 1   course of business. This includes Google’s non-public statistics noting trends in product usage

 2   (see, e.g., pgs. 22,32), non-public methods for tracking financials for its products (see e.g,, pgs.
 3
     25-28, 76), the resulting confidential financial analyses, and profit disgorgement figures and
 4
     analyses for this case that rely on these confidential internal financial analyses (see e.g,, pgs. 5,
 5
     34-36, 51; see also, Exs. 1A–8).
 6
             25.   Relatedly, Mr. Knittel’s report includes confidential internal metrics reflecting the
 7

 8   size of Google’s customer base and a method for allocating damages that reveals the manner in

 9   which Google analyzes its userbase over time (see, e.g., pgs. 32, 78, 79). The Report also includes
10   confidential internal estimates of user traffic across various ad products and includes details about
11
     a confidential project regarding the use of GA for Firebase for conversion measurement data (see,
12
     e.g., pgs. 50, 54-55, 77). Specifically, it describes financial metrics for App Promo, AdMob, and
13
     Ad Manager, and reveals the nonpublic method and manner in which Google tracks financials for
14

15   these products (e.g., pgs. 26-30, 35, 54-55, 60, 62-63, 66-73). It also describes internal figures

16   regarding WAA usage and ad interaction rates, and specific metrics revealing the number of active

17   Google accounts in the United States that have turned off the WAA and sWAA settings during an
18   identified time period (see, e.g., pgs. 45, 54-55, 86-88). This information is very competitively
19
     sensitive and not shared in Google’s regular course of business. Competitors could use it to their
20
     advantage to unfairly capitalize on these metrics by understanding the volume of users who use
21
     the products discussed and targeting Google products that rely on these settings. Finally, it reveals
22

23   detailed information about the technical process by which Google logs events collected through

24   GA for Firebase (pg. 78 n. 21), as well as a description on Google’s backend process for checking

25   account consents (e.g., pg. 83). As discussed above, Google does not publicly disclose its backend
26
     processes, as doing so could grant a bad actor an opportunity to compromise Google’s systems.
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 1   Quotes and characterizations from this report, which disclose the same sensitive information at

 2   MotionDaubert Motion at p. 13, line 16, and p. 14, line 10, should be sealed for the same reasons.
 3
             26.   Jonathan Hochman’s Report is a document that I understand was provided to
 4
     Google’s attorneys by Plaintiffs to understand their perspective on how the inner workings of
 5
     Google’s technology supports their claims. As part of this explanation, Mr. Hochman quotes and
 6
     characterizes from a number of Google’s confidential internal documents to describe highly
 7

 8   confidential, technical, and proprietary details about the flow of GA for Firebase data from app

 9   developer customers to and within Google. His Report, quoted and characterized in the Motion at
10   p. 2, lines 4-5, 20-22; p. 3, lines 10-16; p. 11, lines 14-15, p. 13, lines 14-18, 21-22, 27-28, p. 14,
11
     lines 2-4, 13-14, p. 16, lines 6-7, 12-13, p. 24, lines 6-7, 10-15; the Trial Plan at p. 4, lines 20-26,
12
     p. 5, lines 1-2; the Daubert Opposition at p. 23, lines 1-3, and Reply at p. 12, lines 9-11, reveals
13
     technical details about Google’s back-end data flow, and details about its processes for data
14

15   generation, bundling, consent checks, and storage decisions. The Report exposes non-public

16   information about how data flows through Google’s data pipelines, including the names of

17   proprietary data identifiers, (see, e.g., pgs. 50-53, 137-141) and descriptions of the various data
18   repositories that are potential touch points for this data (see, e.g., pgs. 66-69). He also imports
19
     quotes and characterizations from Google’s internal documentation depicting the construction of
20
     Google’s data packets/HitBundles (see, e.g., 53) and how they flow within Google’s infrastructure
21
     (see, e.g., 75-79). For example, on pages 81-84, 94, 96-98, 100-114, 116, 151, and 154 of his
22

23   Report, Mr. Hochman reveals highly sensitive, technical details regarding the five components

24   that make up Google’s pipeline for GA for Firebase data. At times, his Report includes tables and

25   descriptions of subsets of app analytics and WAA-off data that Google produced to Plaintiffs that
26
     reveal sensitive information about Google’s internal logging infrastructure (see, e.g., pgs. 90-92,
27

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 1   98, Appendix G at -1, -11-37, -39, 41-45, Appendix G-1, Appendix I at 5, 10, 28-29, and

 2   Appendix K)5.
 3
              27.    Mr. Hochman also injects various discussions of Google’s competitively sensitive
 4
     business information regarding its Firebase products, including non-public metrics regarding app
 5
     install trends and Google’s internal deliberations regarding strategic responses to these trends and
 6
     more generally on how to enhance its product offerings (see, e.g., pgs. 5, 22, 27, 33, 125, 136,
 7

 8   150). Mr. Hochman also discusses sensitive information related to Google’s analytics business

 9   including its processes for conversion modeling and attribution and the company’s internal view
10   of its analytics products’ competitive positions (see, e.g., App’x E, pgs. 3-14). It is particularly
11
     important for a document like this Report to remain confidential because it compiles in one
12
     location confidential technical information that would facilitate a bad actor in improperly using
13
     the information to harm Google.
14

15            28.     Mr. Hochman was deposed and asked to discuss several portions of his Report

16   covering the highly technical and competitively sensitive information discussed in paragraphs 27

17   and 28 above. As such, these discussions in his deposition at Exhibit 5 (Daubert Motion)6 at
18   pages 153, 156, 247-249, 257-260, 275-281, 283-285, 288, 292-293, 299-300, 308-309, 318, 325,
19
     330, 332-334, 337-338, 348, 368-372, 375-376 should be kept under seal for the same reasons I
20
     believe the overlapping content in his Report should be sealed.
21
              29.    Internal      Code      Names.       The aforementioned exhibits
22

23   include reference to Google’s internal code names. Revealing Google’s internal code names

24   would present a risk of harm to Google. Specifically, a malicious actor

25

26
     5
       Google also seeks to seal Plaintiffs’ Daubert opposition at pg. 23, lines 1-3, which reference the internal logging
27   infrastructure described in Mr. Hochman’s report.
     6
       Excerpts from this deposition transcript at Ex. 9 (Class Cert. Opposition) seal the same material on the overlapping
28   pages: 348, 368.
                                                        14
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 1   interested in improperly accessing Google’s systems could target particular proprietary data

 2   storage systems and information for improper uses if he or she knew the internal names Google
 3
     seeks to seal in these documents. Thus, it is very important that internal code names not be
 4
     revealed outside of Google. Google has narrowly tailored the information to be sealed to allow
 5
     the first or second letter in each name to be filed publicly, and no more limited sealing would
 6
     appropriately protect Google’s confidential and proprietary information. Google carefully
 7

 8   maintains the confidentiality of the information, both within Google by restricting access to

 9   certain teams with access rights, and externally, including in litigation.
10              30.    Non-Public Employee Email Addresses (Exhibit 65 (Motion), Exs. 8, 177
11
     (Opposition)). Google seeks to redact the non-public employee email addresses contained within
12
     the aforementioned exhibits. This information should be redacted because those employees’
13
     privacy would be placed at risk if their confidential email addresses were to be filed publicly.
14

15

16              I declare under penalty of perjury under the laws of the United States of America that the

17   foregoing is true and correct.
18              Executed October 12 , 2023, at Irvine, California.
19

20

21                                                          KEVIN LAM
22

23

24

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28   7
         Identical to Ex. 9 (Daubert Motion).
                                                         15
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